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IN THE UNITED STATES DISTRICT COURT 05 51 %/
FoR THE WESTERN DISTRICT oF TENNESSEE "05 ,3 \

EASTERN DIVISION Q®YF>/Q f 446 C'
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UNlTED STATES OF AMERICA,
Plaintiff,
VS. No. 03-10041-T-An

RONNIE D. DEAN,

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Defendant.

 

ORDER DENYING DEFENDANT’S PRO SE MOTION
TO SET DATE FOR RE-SENTENCING AND APPOINTMENT OF COUNSEL

 

Defendant has filed a motion,pro se, seeking a date for his re-sentencing and seeking
the appointment of counsel. A date for Defendant’s re-sentencing Will be set by the court
and does not require a motion. Likewise, counsel Wi]l be appointed for Defendant.
Therefore, Defendant's motion is DENIED as unnecessary.

IT lS SO ORDERED.

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JAMEg/o. ToDD
uNIT D sTATEs DISTRICT JUDGE

DATE

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DISTRICT COUR - WESTERN D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
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Honorable J ames Todd
US DISTRICT COURT

